Case 9:20-cv-00253-RC-KFG Document 3 Filed 01/12/21 Page 1 of 2 PageID #: 36



                          IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        LUFKIN DIVISION

STEPHEN P. RIOS                                    §

VS.                                                §        CIVIL ACTION NO. 9:20cv253

BRYAN COLLIER, ET AL.                              §

                           MEMORANDUM OPINION AND ORDER

       Stephen P. Rios, an inmate confined at the Eastham Unit of the Texas Department of

Criminal Justice, Correctional Institutions Division, proceeding pro se, filed this civil rights action

pursuant to 42 U.S.C. § 1983 against several defendants.

                                             Discussion

       The Civil Rights Act, 42 U.S.C. § 1981, et. seq., under which this case is brought, does not

contain a specific venue provision. Accordingly, venue in civil rights cases is controlled by 28

U.S.C. § 1391.

       When, as in this case, jurisdiction is not founded solely on diversity of citizenship, 28 U.S.C.

§ 1391 provides that venue is proper only in the judicial district where the defendants resides or in

which the claim arose. Plaintiff’s claims involve events that occurred at the Lynaugh Unit, which

is located in Pecos County, Texas. His claims therefore arose in Pecos County. In addition, the
defendants appear to reside in Pecos County.

       Pursuant to 28 U.S.C. § 124, Pecos County is located in the Pecos Division of the United

States District Court for the Western District of Texas. As a result, venue in the Eastern District

of Texas is not proper.

       When it is determined venue is not proper, the court “shall dismiss, or if it be in the interests

of justice, transfer such case to any district or division in which it could have been brought.” 28

U.S.C. § 1406(a). After considering the matter, the court is of the opinion that this matter should

be transferred to the Western District of Texas.
Case 9:20-cv-00253-RC-KFG Document 3 Filed 01/12/21 Page 2 of 2 PageID #: 37



                                                ORDER

       For the reasons set forth above, it is

       ORDERED that this lawsuit is TRANSFERRED to the Pecos Division of the United States

District Court for the Western District of Texas.


                     SIGNED this the 12th day of January, 2021.




                                                        ____________________________________
                                                        KEITH F. GIBLIN
                                                        UNITED STATES MAGISTRATE JUDGE




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